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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                                       3:96cr65/LAC

MARCUS TALLEY

                                             /




                                         ORDER


       This cause is before the Court on Defendant’s Renewed Motion to Recuse or in the

Alternative to Dismiss Indictment or Order the Defendant’s Release (doc. 661). The

Government has not filed a response to the motion. Also before the Court is the latest

psychological report prepared by staff members at FMC Rochester (doc. 661, ex. A) where

Defendant was evaluated pursuant to Court order.

       As the report makes clear, Defendant’s mental illness prevents him from being able

to assist properly in his own defense, thus rendering him incompetent to stand trial. As

further detailed, Defendant’s condition is unlikely to improve to the extent that he would ever

regain competence to assist in his own defense. Additionally, it is noted that Defendant has

been detained for ten years in anticipation of a trial that will never occur. Accordingly,
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pursuant to 18 U.S.C. § 4241 and Jackson v. Indiana, 406 U.S. 715, 92 S.Ct. 1845, 32

L.Ed.2d 435 (1972), the indictment is due to be dismissed.1

        ACCORDINGLY, IT IS HEREBY ORDERED:

        1.   Defendant’s Renewed Motion to Recuse or in the Alternative to Dismiss

Indictment or Order the Defendant’s Release (doc. 661) is DENIED insofar as it seeks

recusal of the undersigned, is GRANTED insofar as it seeks dismissal of the indictment, and

is further DENIED in all other respects.

        ORDERED on this 16th day of July, 2007.




                                                         s/L.A. Collier
                                                         Lacey A. Collier
                                                 Senior United States District Judge




        1
            The actions by this Court should not be taken as an indication that it has discounted or
overlooked Defendant’s history of violent behavior. This Court holds only that the pending charges can
no longer be held over someone who will never be held competent to defend against them. While the
psychological report discusses Defendant’s behavioral history both inside and outside of the institutional
setting, it concluded that Defendant’s violent propensities are not connected to his mental problems such
that civil commitment could be recommended. Moreover, Defendant has been civilly committed once
already and was released from such commitment. As a result, there are simply no grounds under which
Defendant may be held under federal custody. It is also noted that the State of Florida retains custody
over Defendant with its own pending charges. In this difficult area of custody over the mentally infirm,
the law prefers state custody and care of the individual. See 18 U.S.C. § 4246.
